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 8                                   UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11    BRENDA A. LIMON,                                 1:22-cv-01573-ADA-SAB

12                      Plaintiff,                     NEW CASE NUMBER:

13           v.                                        1:22-cv-01573-SAB

14    NISSAN NORTH AMERICA, INC.,                      ORDER REASSIGNING CASE

15                      Defendants.
16

17          All parties having executed consent forms, it is ordered that this matter be reassigned from

18   the docket of United States District Judge Ana de Alba to the docket of United States Magistrate

19   Judge Stanley A. Boone, for all purposes including trial and entry of Judgment.

20          To prevent a delay in documents being received by the correct judicial officer, the new case

21   number listed below should be used on all future documents.

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23                                         1:22-cv-01573-SAB

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26   IT IS SO ORDERED.

27      Dated:    April 5, 2023
                                                      UNITED STATES DISTRICT JUDGE
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